       Case 5:16-cv-01094-FB          Document 65   Filed 02/21/19    Page 1 of 5




                          IN THE UNITED STATES DISTRICT COURT
                           FOR THE WESTERN DISTRICT OF TEXAS
                                  SAN ANTONIO DIVISION

SKY TOXICOLOGY, LTD., SKY
TOXICOLOGY LAB MANAGEMENT, LLC,
FRONTIER TOXICOLOGY, LTD., FT LAB
MANAGEMENT, LLC, HILL COUNTRY
TOXICOLOGY, LTD., ECLIPSE
TOXICOLOGY, LTD., ECLIPSE
TOXICOLOGY LAB MANAGEMENT, LLC,
AND AXIS DIAGNOSTICS, INC.,

      Plaintiffs, Counterclaim-Defendants,

VS.                                                 Civil Action No. 5:16-cv-1094

UNITEDHEALTHCARE INSURANCE
COMPANY, UNITEDHEALTHCARE OF
FLORIDA, INC., UNITEDHEALTHCARE
OF TEXAS, INC., AND
UNITEDHEALTHCARE SERVICES, INC.,

      Defendants, Counterclaim-Plaintiffs.

COUNTERCLAIM-PLAINTIFFS’ RESPONSE TO COUNTERCLAIM-DEFENDANTS’
         MOTION TO DISMISS AMENDED COUNTERCLAIMS

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        Case 5:16-cv-01094-FB           Document 65        Filed 02/21/19     Page 2 of 5




                                       I. INTRODUCTION

       On January 24, 2019, United timely filed Amended Counterclaims, pursuant to its

stipulation with the Counterclaim-Defendants (the “Labs”) allowing it to amend its causes of

action within 30 days of a decision on the Labs’ original motion to dismiss. [See ECF No. 10].

United’s Amended Counterclaims [ECF No. 60] specifically address the Court’s concerns with

United’s tortious interference cause of action by pleading facts showing that Frontier Toxicology

and Hill Country Toxicology knew, or reasonably should have known, that the providers they

allegedly targeted had network agreements with United. Specifically, United alleges that Frontier

and Hill Country targeted providers because of the providers’ contractual relationships with

United, which Frontier and Hill Country believed would result in more laboratory test orders for

United members, which they viewed as particularly lucrative. The Labs’ Motion to Dismiss is

legally insufficient and should be denied.

                                         II. ARGUMENT

A.     United’s Amended Counterclaims were properly filed.

       The Labs contend that United’s Amended Counterclaims were “inappropriately and

untimely filed.” [ECF No. 62 at 4.] The Labs offer two (somewhat contradictory) arguments in

support of their contention. First, they assert that United’s motion to dismiss the Plaintiffs’

Second Amended Complaint should be “fully briefed and ruled on by the Court prior to United’s

filing an answer and counterclaims.” [Id.] But the Labs do not identify any rule that requires a

party to wait until their motion to dismiss has been decided before filing counterclaims. Indeed,

no such rule exists. Second, the Labs assert that “United should have filed its Answer &

Counterclaims simultaneously with its Motion to Dismiss so that it would not have answered the

Labs’ allegations after already requesting their dismissal.” Again, the Labs do not identify any

rule to support their argument. Indeed, the plain language of Rule 12(b) states that “[a] motion


United’s Response to Labs’ Motion to Dismiss United’s Amended Counterclaims           Page 1
         Case 5:16-cv-01094-FB          Document 65        Filed 02/21/19     Page 3 of 5




asserting any of these [Rule 12(b)] defenses must be made before pleading if a responsive

pleading is allowed.” (emphasis added). Once a Rule 12(b) motion has been filed, a pleading

(i.e., an answer) can be filed at any time without waiving the Rule 12(b) defenses. Here, United

filed its Rule 12(b) motion to dismiss and then filed a pleading (the Amended Answer and

Counterclaims), as contemplated by the Federal Rules.

       Regardless, Federal Rule of Civil Procedure 15(a)(2) allows a party to amend its pleading

“with the opposing party’s written consent[.]” The parties stipulated “that United will have thirty

(30) days to amend their counterclaims from the date that the Court rules on [the Labs’] Motion

to Dismiss, but only as to counterclaims that were not dismissed with prejudice.” [ECF No. 10.]

The Court ruled on the Labs’ original motion to dismiss on December 27, 2018, denying the

Labs’ motion as to all but one of United’s claims and granting United leave to amend its claim

for tortious interference. United, pursuant to its stipulation with the Labs, filed its Amended

Counterclaims within 30 days (on January 24, 2019). As such, United’s Amended Counterclaims

were properly and timely filed and the Labs’ argument should be denied.

B.     United’s allegations state a plausible claim for tortious interference by describing
       Frontier and Hill Country’s knowledge of medical providers’ contractual relations
       with United.

       The Labs’ argument concerning the sufficiency of United’s tortious interference claim is

copied, nearly verbatim, from the Labs’ original motion to dismiss and does not take into

account any of the additional allegations in United’s Amended Counterclaims. United’s new

allegations completely address the Court’s concerns with United’s tortious interference cause of

action by explaining how and why Frontier and Hill Country’s interference was willful and

intentional.




United’s Response to Labs’ Motion to Dismiss United’s Amended Counterclaims            Page 2
        Case 5:16-cv-01094-FB           Document 65        Filed 02/21/19     Page 4 of 5




       The Magistrate Judge’s Report and Recommendation determined that United did not

sufficiently allege a plausible allegation that the act of interference is willful or intentional. To

show a willful or intentional act of interference, “the interfering party must have actual

knowledge of the contract or business relation in question, or knowledge of facts and

circumstances that would lead a reasonable person to believe in the existence of the contract or

business relationship.” [ECF No. 44 at 19 (citing Amigo Broad., LP v. Spanish Broad. Sys., Inc.,

521 F.3d 472, 490 (5th Cir. 2008).] The Magistrate Judge found United’s original tortious

interference claim lacking because it did not include facts “suggesting that Frontier and Hill

Country knew that the providers they allegedly targeted entered into network agreement with

United.” [ECF No. 44.] In adopting the Magistrate Judge’s Report and Recommendation, the

Court granted United leave to amend the tortious interference claim. [ECF No. 55.]

       United’s Amended Counterclaims allege that Frontier and Hill Country knew or

reasonably should have known that their referring providers had network agreements with

United, and explain why Frontier and Hill Country specifically targeted these providers:

       Medical providers who have Network Agreements with UHC have patients who
       are members of UHC plans. Frontier and HCT desired referrals of UHC
       members’ specimens, because UHC plans typically paid higher amounts than
       some other commercial payors . . . . Before medical providers were offered the
       opportunity to purchase the Frontier or HCT limited partnership shares through
       which they received the kickbacks, they discussed their “payor mix” and network
       status with private insurance companies . . . . Frontier and HCT sought out
       medical providers with ‘payor mixes’ that included UHC members and medical
       providers who had network contracts with UHC.

[ECF No. 60 at ¶ 398.]

       Targeting providers specifically because of their contract status with United demonstrates

Frontier and Hill Country’s knowledge of the agreements with which United alleges they were

interfering. United’s Amended Counterclaims also add allegations about how Frontier and Hill




United’s Response to Labs’ Motion to Dismiss United’s Amended Counterclaims              Page 3
        Case 5:16-cv-01094-FB           Document 65        Filed 02/21/19     Page 5 of 5




Country caused United’s network providers to breach their contracts. See, e.g., ECF No. 60 at ¶¶

50-54, 397, 398.      These allegations are sufficient to state a plausible claim for tortious

interference.

                        III. CONCLUSION & REQUESTED RELIEF

       Because United’s Amended Counterclaims were properly and timely pled and the

additional allegations concerning Frontier and Hill Country’s knowledge of medical provider’s

contractual relationships with United make United’s tortious interference claim plausible on its

face, the Court should DENY the Labs’ Motion to Dismiss United’s Amended Counterclaims.

       Respectfully Submitted, this 21st day of February, 2019.

By: /s/ Stephen W. Mooney

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and
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                                 CERTIFICATE OF SERVICE

        This is to certify that a true and correct copy of the foregoing document has been served
on the parties listed below on February 21, 2019.

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United’s Response to Labs’ Motion to Dismiss United’s Amended Counterclaims           Page 4
